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                                   STATEMENT OF FACTS

        Your affiant, Allen Purcell, is a Special Agent assigned to the Federal Bureau of
Investigation (FBI). Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On February 26, 2021, an online tip was submitted to the FBI National Threat Operations
Center at tips.fbi.gov. The submitted tip stated, “I was made aware that an individual that works
at Yoder locksmith in Nevada Missouri was involved in the storming of the Capitol on Jan 6th. I
am unsure of the gentleman’s first name but know the day of the event he was inside the Capitol
and was dressed as George Washington.”

       Yoder Lock and Key is a business loctated in Nevada, Missouri. An open source internet
review of the business website showed Isaac Yoder listed as the owner. The website listed a
contact number of 417-321-4538. Under the “About Us” portion of the website, a photographic
image with a male in colonial period attire was captioned “Isaac & Kelly Yoder.” A screenshot of
the image is below:




        A Missouri driver’s license photo of Isaac Samuel Yoder was compared to social media
data collected in the FBI Washington Field Office investigation of the January 6, 2021 Capitol
riots. A comparative analysis of Yoder’s driver’s license photo to social media photographic data
identified an image of a white male dressed in colonial attire standing beside a woman inside the
United States Capitol Building on January 6, 2021. A comparison of Isaac Yoder’s drivers license
photo, the Yoder Lock and Key website photo, and the male photographed in the U.S. Capitol
were similar and believed to be the same individual.

        According to records obtained through a search warrant which was served on AT&T, on
January 6, 2021, in and around the time of the incident, the cellphone associated with 417-321-
4538 was identified as having utilized a cell site consistent with providing service to a geographic
area that includes the interior of the United States Capitol building.

        On March 16, 2021, Isaac Yoder voluntarily agreed to be interviewed by FBI Special
Agents at the Joplin Resident Agency in Joplin, Missouri. During the interview, Yoder admitted
that he entered the United States Capitol Building on January 6, 2021. Yoder described how he
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learned from his family who went to the Trump rally with him that his brothers had been exposed
to tear gas, and one was hit by rubber bullets. He told the agents he saw barricades and broken
windows before he entered the Capitol. Yoder advised he entered the Capitol through a “west
facing door.” He eventually made his way down a hallway to a rotunda housing numerous statues.
Inside this area, Yoder said there were approximately two officers standing next to every statue.
He described the situation appeared somewhat under control with law enforcement and people
standing around. People were using their phones and photographing everything. He was sure that
he was captured in multiple images from photographs taken inside the Capitol. Yoder stated he
exited the same way he entered. At the interview, he brought with him his telephone and the
colonial attire he wore on January 6, 2021, which matches the period attire of Yoder in the
photograph below and on the U.S. Capitol Police Closed Circuit Television (CCTV) recordings.

        On March 19, 2021, a Newsweek website article was published entitled “George
Washington Says if Capitol Rioters wanted Trouble There’d Be ‘Piles of Bodies’” The article was
an interview of Isaac Yoder who described his opinion of the January 6, 2021 riots and his presence
inside the U.S. Capitol Building. In the article, Yoder admitted walking into the Capitol on January
6, 2021 through an “open door”, and that wearing the George Washington costume was a nod to
America's founding. Below is a photograph contained in the Newsweek website:




        In a review of CCTV recordings of the Capitol riot, your affiant observed a white male
now identified as Isaac Yoder, dressed in colonial attire, entering the U.S. Capitol on January 6,
2021 at approximately 3:14p.m. EST at the Senate Wing Door near S 139. Yoder exited the same
door at approximately 3:32p.m. EST. Specifically, he is seen entering the Crypt at approximately
3:17pm EST and leaving at approximately 3:21pm EST. While inside the Crypt, he was observed
stopping so people could take his picture.

      Based on the foregoing, your affiant submits that there is probable cause to believe that
ISAAC SAMUEL YODER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
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knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that ISAAC SAMUEL YODER
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                     __________________________________
                                                     Allen Purcell
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29th day of July 2021.
                                                                            2021.07.29
                                                                            11:53:23 -04'00'
                                                     ___________________________________
                                                     HONORABLE ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
